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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 21-1402V
                                      Filed: June 27, 2024



 GEETA KARRA,                                                Special Master Horner

                         Petitioner,
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Emily Beth Ashe, Anapol Weiss, Philadelphia, PA, for petitioner.
Lara Ann Englund, U.S. Department of Justice, Washington, DC, for respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS1

       On May 26, 2021, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleged that she suffered Guillain-Barre Syndrome (“GBS”), acute
inflammatory demyelinating polyneuropathy (“AIDP”), and Chronic Inflammatory
Demyelinating Polyneuropathy, as a result of an influenza vaccine she received on
December 30, 2019. Petition at 1. On April 6, 2023, the parties filed a joint stipulation,
which I adopted as my decision awarding compensation on the same day. (ECF Nos. 39-
40.)

       On October 5, 2023, petitioner filed a motion for attorneys’ fees and costs. (ECF
No. 45.) (“Fees App.”). Petitioner requests attorneys’ fees in the amount of $ 30,547.00
and attorneys’ costs in the amount of $430.92. Fees App. at 4. Pursuant to General Order
No. 9, petitioner has indicated that she has not personally incurred any costs in pursuit of

1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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this litigation. Fees App. Ex. C at 1. Thus, the total amount requested is $30,977.92. On
October 17, 2023, respondent filed a response to petitioner’s motion. (ECF No. 46.)
Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13 requires
respondent to file a response to a request by a petitioner for an award of attorneys' fees
and costs.” Id. at 1. Respondent adds, however, that he “is satisfied the statutory
requirements for an award of attorneys’ fees and costs are met in this case.” Id. at 2.
Respondent “respectfully requests that the Court exercise its discretion and determine a
reasonable award for attorneys’ fees and costs.” Id. at 3. Petitioner did not file a reply
thereafter.

       This matter is now ripe for consideration.

I.     Reasonable Attorneys’ Fees and Costs

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e).
The Federal Circuit has approved the lodestar approach to determine reasonable
attorneys’ fees and costs under the Vaccine Act. Avera v. Sec’y of Health & Human
Servs., 515 F.3d 1343, 1347 (Fed. Cir. 2008). This is a two-step process. Id. at 1347-48.
First, a court determines an “initial estimate . . . by ‘multiplying the number of hours
reasonably expended on the litigation times a reasonable hourly rate.’” Id. (quoting Blum
v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court may make an upward or
downward departure from the initial calculation of the fee award based on specific
findings. Id. at 1348.

      It is “well within the special master’s discretion” to determine the reasonableness of
fees. Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993);
see also Hines v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he
reviewing court must grant the special master wide latitude in determining the
reasonableness of both attorneys’ fees and costs.”). Applications for attorneys’ fees must
include contemporaneous and specific billing records that indicate the work performed
and the number of hours spent on said work. See Savin v. Sec’y of Health & Human
Servs., 85 Fed. Cl. 313, 316–18 (2008). Such applications, however, should not include
hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3 F.3d at 1521
(quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).

       Reasonable hourly rates are determined by looking at the “prevailing market rate”
in the relevant community. See Blum, 465 U.S. at 894-95. The “prevailing market rate” is
akin to the rate “in the community for similar services by lawyers of reasonably
comparable skill, experience and reputation.” Id. at 895, n.11. Petitioners bear the burden
of providing adequate evidence to prove that the requested hourly rate is reasonable. Id.

      Special masters can reduce a fee request sua sponte, without providing petitioners
notice and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86
Fed. Cl. 201, 209 (Fed. Cl. 2009). When determining the relevant fee reduction, special
masters need not engage in a line-by-line analysis of petitioners’ fee application.
Broekelschen v. Sec’y of Health & Human Servs., 102 Fed. Cl. 719, 729 (Fed. Cl. 2011).
Instead, they may rely on their experience with the Vaccine Program to determine the

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reasonable number of hours expended. Wasson v. Sec’y of Dep’t of Health & Human
Servs., 24 Cl. Ct. 482, 484 (1991), rev’d on other grounds and aff’d in relevant part, 988
F.2d 131 (Fed. Cir. 1993). Just as “[t]rial courts routinely use their prior experience to
reduce hourly rates and the number of hours claimed in attorney fee requests . . . Vaccine
program special masters are also entitled to use their prior experience in reviewing fee
applications.” Saxton, 3 F.3d at 1521.

       a. Hourly Rates

      Petitioner requests the following rates of compensation for her attorneys at Anapol
Weiss: for Ms. Emily B. Ashe, $310.00 per hour for work performed in 2020, $330.00 per
hour for work performed in 2021, $350.00 per hour for work performed in 2022, and
$370.00 per hour for work performed in 2023; for Mr. Gregory S. Spizer, $400.00 per hour
for work performed in 2020; and for Ms. Miriam Barish, $380.00 per hour for work
performed in 2021, $380.00 per hour for work performed in 2022, and $400.00 per hour
for work performed in 2023. Additionally, petitioner requests compensation for law clerks
at a rate of $125.00 per hour for work performed in 2018, $138.00 per hour for work
performed in 2019, $150.00 per hour for work performed in 2021, and $165.00 per hour
for work performed in 2022-2023. Additionally, petitioner requests the following rates of
compensation for paralegals Christina Negrey, Kiersten McConagle, and Kelly Drake:
$125.00 per hour for work performed in 2020, $125.00-$130.00 per hour for work
performed in 2021, $130.00 per hour for work performed in 2022, and $135.00 per hour
for work performed in 2023. These rates are consistent with what counsel have previously
been awarded for their Vaccine Program work and I find them to be reasonable herein.

       b. Hours Expended

        Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours
that are “excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521. While
attorneys may be compensated for non-attorney-level work, the rate must be comparable
to what would be paid for a paralegal or secretary. See O'Neill v. Sec'y of Health & Human
Servs., No. 08–243V, 2015 WL 2399211, at *9 (Fed. Cl. Spec. Mstr. Apr. 28, 2015).
Clerical and secretarial tasks should not be billed at all, regardless of who performs them.
See, e.g., McCulloch, 2015 WL 5634323, at *26.

       Upon review, the overall number of hours billed appears to be reasonable. I have
reviewed the billing entries and find that they adequately describe the work done on the
case and the amount of time spent on that work. I do not find any of the entries to be
objectionable, nor has respondent identified any as such. Petitioner is therefore awarded
final attorneys’ fees of $30,547.00.

       c. Attorneys’ Costs

     Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be
reasonable. Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl.
1992). Petitioner requests a total of $430.92 in attorneys’ costs comprised of acquiring

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medical records, the Court’s filing fee, postage, and medical literature. Fees App. Ex. B
at 1. These costs have been supported with the necessary documentation and are
reasonable. Petitioner is therefore awarded the full amount of costs sought.

II.     Conclusion

      In accordance with the Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), I have
reviewed the billing records and costs in this case and finds that petitioner’s request for
fees and costs is reasonable. I find it reasonable to compensate petitioner and her
counsel as follows: a lump sum in the amount of $30,977.92, representing
reimbursement for petitioner’s attorneys’ fees and costs, in the form of a check
payable to petitioner and petitioner’s counsel, Anapol Weiss.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk
of the Court shall enter judgment in accordance herewith.3

        IT IS SO ORDERED.

                                                 s/Daniel T. Horner
                                                 Daniel T. Horner
                                                 Special Master




3
  Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek
review. Vaccine Rule 11(a).

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